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UNITED STATES OF AMERICA DISTRICT COURT OF NEW JERSEY

 

Dr. Beverly M. Harris,

Plaintiff, ‘ CASE NO.: 2:18-CV-10277-MCA-SCM
Vv. :
* September 19, 2018
Mr. Thomas S. Bozzuto, Founder of the Bozzuto Group, :
6406 Ivy Lane #700 Greenbelt, Maryland 20770,

Mr. Toby Bozzuto, Operating Officer, Bozzuto Group, * JUDGES: Judge Madeline Cox Arleo
6406 Ivy Lane #700 Greenbelt, Maryland 20770, & :
Partners of the Bozzuto Group, 6406 Ivy Lane #700

Greenbelt, Maryland 20770, ‘ Magistrate Judge Steven C. Mannion

Mr. David Curcio, Regional Manager, 6406 Ivy Lane #700 :
Greenbelt, Maryland 20770, :

Ms. Michelle Demetriou, Manager The Park Apartments,
471 Raritan Road, Roselle New Jersey

U.S. ATTORNEY GENERAL, Jeffery Sessions, in his
individual and official capacities, US Department of
Justice, 950 Pennsylvania Avenue, NW, Washington, DC
20530,

DIRECTOR, Christopher A. Wray, FEDERAL BUREAU
OF INVESTIGATION, J. Edgar Hoover Building, 935
Pennsylvania Avenue, NW, Washington, DC 20535,

AN UNKNOWN NUMBER OF UNKNOWN AGENTS

OF FEDERAL BUREAU OF INVESTIGATION, 611 :
Greenway Blvd, The Park Apartment, Roselle, New Jersey .
07203,

AN UNKNOWN NUMBER OF UNKNOWN AGENTS
OF FEDERAL BUREAU OF INVESTIGATION, 11
Centre Pl, Newark, NJ 07102,

AN UNKNOWN NUMBER OF UNKNOWN AGENTS
OF FEDERAL BUREAU OF INVESTIGATION,
addresses Unknown,

Defendants.

 

DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT AS FRIVILOUS,
MALICIOUS AND HARASSING, FOR FAILURE TO STATE A CLAIM UPON WHICH

RELIEF MAY BE GRANTED, FOR LACK OF SUBJECT MATTER JURISDICTION, FOR
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LACK OF SUPPLEMENTAL JURISDICATION, AND BECAUSE SERVICE WAS IMPROPER,
AND TO CLARIFY THE STATUS OF BOZZUTO GROUP AS A DEFENDANT, AND IN THE
ALTERNATIVE, EXTENDING TIME TO ANSWER.

BRIEF
1. RELIEF SOUGHT

Defendants, The Bozzuto Group, Mr. Thomas S. Bozzuto, Mr. Toby Bozzuto, Mr. David Curcio,
and Ms. Michelle Demetriou (collectively “Defendants”) hereby move to dismiss all claims in this
matter: .

e As frivolous;’

e As malicious and harassing;

e As failing to state a. cause of action upon which relief may be granted;

e As lacking in subject matter jurisdiction;

e As lacking in supplemental jurisdiction;

e As service was improper;
Alternatively, the Bozzuto Group has not been named as a Defendant in the caption of the
Complaint, but Plaintiff seems to make allegations against it. The Bozzuto Group is merely a
designation of a group of companies. It has no corporate or other lawful status. Clarification is
needed as to whether Bozzuto Group is a Defendant at all, and if so, whether Plaintiff should have

chosen an incorporated entity or LLC.
Alternatively, Defendants Thomas S. Bozzuto, Toby Bozzuto, David Curcio and Michelle
Demitrio seek and extension of time to Answer the Complaint, for 14 days from the date of the

entry of an Order on this Motion.
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2. GROUNDS FOR RELIEF:

A. THIS CASE MUST BE DISMISSED AS A FRIVOLOUS LAWSUIT, AS
MALICIOIUS AND HARASSING, AND FOR FAILURE TO STATE A CLAIM
UPON WHICH RELIEF MAY BE GRANTED.

A Court must dismiss a complaint, or a portion thereof, that is frivolous or malicious, fails to state
a claim upon which relief may be granted, or seeks monetary relief from a defendant who is
immune to such relief. 28 U.S.C. S. 1915(e)(2)(B); 1915A(b); see Abbas v. Dixon, 480 F. 3d. 636
(2"¢ Cir. 2007). While the law mandates dismissal on any of these grounds, the Court is obliged to
construe pro se pleadings liberally, Harris v. Mills, 572 F. 3d 66, 72 (2"4 Cir. 2009)., and interpret
them to raise the “strongest [claims] that they suggest.” Treistman v. Fed. Bureau of Prisons, 470

F. 3d 471, 474-75 2"! Cir. 2006).

A claim is frivolous when it “lacks an arguable basis either in law or in fact.” Neitzke v. Williams,
490 U.S. 319, 324,-325; 109 S. Ct. 1827, 104 L. Ed. 2d. 338 (1989), abrogated on other grounds
by Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1995, 167L.Ed. 2d 929 (2007); see also
Denton v. Hernandez, 504 U.S. 25, 32-33, 112 S. Ct. 1728, 118 L. Ed. 2d 340 (1992) (holding that
“finding factual frivolousness is appropriate when the facts alleged to rise to the level of the
irrational or the wholly incredible”); Livingston v. Adirondak Beverage Co., 141 F. 3d 434, 437
2°4 Cir. 1998) (“An action is frivolous when either (1) the factual contentions are clearly
baseless...; or (2) the claim is based on an indisputably meritless legal theory.”’) (internal quotation

marks and citation omitted).

In the instant case, the intention to harass is evident from the choice of Defendants. Neither Thomas
S. Bozzuto, Toby Bozzutto nor David Curcio have had personal dealings with the Plaintiff. Any

actions they undertook that can remotely be said to have occurred so as to have damaged the
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Plaintiff were taken solely in their corporate capacity. They appear to have been selected from a
website. Michelle Demetriou was the Manager of “The Park” Apartments where Plaintiff resided
while the incidents complained of occurred. Plaintiff's approaches to Ms. Demetriou have all been

in her professional capacity. It was not appropriate to her in her personal capacity.

Furthermore, none of these Defendants may be said to have personally committed any act that may

rationally be said to amount to a cause of action.

This case follows on the heels of a case Plaintiff filed Pro Se in August of 2018 entitled, Harris V.
Sessions, in the United States District Court for the Southern District of New York, bearing Docket
No. 18-CV-5245 (CM). There, the same Plaintiff, Beverly Harris, accused the Federal Bureau of
Investigation (“FBI”) of teaming up with doctors to implant tracking devices in her leg and ear
and under the guise of performing a colonoscopy. Thereafter, Plaintiff filed several motions,
including to have procedures performed to show the implanted devices in her body, to prevent the
FBI from listening to her communications and to have the Court save her life. That case was
dismissed as frivolous, the Court having concluded that even considering the “special solicitude
due pro se pleadings, the Complaint must be dismissed as frivolous, rising to the level of the
“irrational”, without a legal theory upon which to rely. The Court found that it would be futile to

allow the Plaintiff to amend.

Once the case was dismissed, Plaintiff filed the instant action, deleting the doctors but containing
a new theory, which was that the FBI and Bozzuto Company and their owners, operators and
managers cooperated with the FBI in allowing the FBI to install cameras and listening devices in
the air conditioning vents, and in sharing nude photos of Plaintiff taken from these cameras with

the maintenance staff (Paragraph 39, 40).
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Plaintiff went on to accuse the FBI of supposedly telling the Bozzuto Management team that she
was a sex offender (Paragraph 56), a child molester, a prostitute and liar (Paragraph 57 b). Plaintiff

again accuses the FBI of implanting devices into her body. (Paragraph 57).

Plaintiff accuses the Bozzuto Defendants in Count | of negligence by engaging in “little, if any,
supervision of their leasing and operational staff before allowing them to assume these most
sensitive and demanding positions...creating a foreseeable risk of harm...subjecting Plaintiff to a
hostile, intimidating and humiliating environment”. The environment to which she was apparently
subjected was the one in which the FBI installed cameras in her apartment. To describe her
Complaint is to inject logic into her illogical allegations and prayer for relief. The allegation fails

to state a cause of action upon which relief may be granted.

Count 2 of the Complaint is equally without the expression of a cause of action upon which relief
may be granted. It is captioned “Common Law Negligence”, but it focuses solely upon damages

associated with humiliation, shock, embarrassment, fear and the like.

Count 3 of the Complaint, again alleges negligence for “failure to exercise the degree of care for
the safety of others which a person of ordinary prudence would exercise under similar
circumstances. This is nothing more than a recitation of the definition of negligence, followed by
her allegation that she experienced shock and humiliation, apparently from the FBI’s installation
of cameras in her apartment. While she has no idea whether the Bozzuto Group is licensed, she
raises the question as a matter of negligence. Michele Gallagher was the holder of the Real Estate

license for that office (See Certification of David Curcio, Paragraph 3).
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Count 4 asserts a violation of 28 U.S.C S. 2511 by installing cameras in her apartment, thereby
invading her privacy. This is, of course, fantasy, and is supported by nothing. There is no evidence
that Defendants did any such thing. Plaintiff admits that there isn’t any evidence that cameras had
ever been there. She asserts by way of conjecture that the maintenance staff must have removed
the cameras. Such a theory would, by necessity, mean that they were working in concert with the
FBI. The notion that the FBI would have the maintenance staff of an apartment building install or

remove cameras for them is just absurd.

Furthermore, the Statute Plaintiff asserts has been violated, 28 U.S.C. § 2511 only requires notice

in certain cases to the Attorney General. It has nothing to do with an invasion of privacy.

Count 5 alleges that the Bozzuto Defendants ordered a background search without her knowledge
or permission. The statute she cites has nothing to do with requiring permission to perform a
background check, nor is permission required in order to use any of several databases that keep

records of criminal convictions.

Even given the special solicitude provided to pro se Plaintiffs, the Complaint is frivolous, and fails
to state a claim upon which relief may be granted. Furthermore, the Complaint is intended to
harass, which is evident from the inclusion of the founder of the company, the Chief Operating
Officer and the Regional Manager, none of whom have had any direct contact with her. Finally, it
would be (as it was for the prior lawsuit she filed, which was dismissed) futile to allow Plaintiff to

amend.
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B. THE COMPLAINT FAILS TO ESTABLISH SUBJECT MATTER OR
SUPPLEMENTAL JURISDICTION:

As the Court knows, Federal courts have limited jurisdiction. They may only adjudicate claims
arising pursuant to federal law and in instances of diversity of citizenship. 28 U.S.C. § 1331; 28
U.S.C. § 1332(a); see also Phila. Fed'n of Teachers v. Ridge, 150 F.3d 319, 323 (3d Cir. 1998). In
addition, Federal district courts, in any civil action over which the district courts have original
jurisdiction, have supplemental jurisdiction over all other state law claims that are so related to
claims in the action within such original jurisdiction that they form part of the same case or

controversy, under Article III of the United States Constitution. 28 U.S.C. § 1367.

Subject matter jurisdiction can never be forfeited or waived, and courts have a continuing

independent obligation to determine whether subject matter jurisdiction exists. Beazer East, Inc.

 

v. Mead Corp., 525 F.3d 255, 206 (3d Cir. 2008). Unless affirmatively demonstrated, a federal
court is presumed to lack subject matter jurisdiction. See Phila. Fed'n of Teachers, 150 F.3d at
323 (citing Renne v. Geary, 501 U.S. 312, 316 (1991)). The burden of demonstrating the existence
of jurisdiction is on the party seeking to invoke it. See Common Cause of Penn. v. Pennsylvania,

558 F.3d 249, 257 (3d Cir. 2009) (citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342,

(2006)).

1. As to Federal Question: Federal district courts have “original jurisdiction of all civil
actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. §
1331. Federal question jurisdiction applies to claims “arising under” the United States

Constitution, treaties, federal laws, federal administrative regulations or federal common
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law. See Arbaugh v. Y & H Corp., 546 U.S. 500 (2006). In the instant case, Plaintiff
attempts to bring a claim under 28 U.S.C. § 2511. This statute reads,
“Notice of suit under section 1494 of this title shall be given to the
Attorney General, to the Comptroller General, and to the head of
the department requested to settle the account in question. The
judgment of the United States Court of Federal Claims in such suit
shall be conclusive upon the parties, and payment of the amount
found due shall discharge the obligation. The transcript of such
judgment, filed in the clerk's office of any district court, shall be
entered upon the records, and shall be enforceable as other
judgments.” 28 U.S.C. § 2511.
This section of the United States Code does not detail a cause of action that a plaintiff may use
to bring suit in federal court. The object of this section is to force the Government to bring
speedy and final settlement claims which otherwise might remain dormant for years. It “is not
intended to afford relief except where party either is or has been indebted.” Gerding v United
States (1891) 26 Ct C1 319. Because in this case, neither party has been indebted, this Federal

Statute cannot be used to seek relief in this action.

2. As to Subject Matter Jurisdiction — Diversity of Citizenship: Defendants’ motion to
dismiss for lack of subject matter jurisdiction should be granted because the Court does not
have original jurisdiction under 28 U.S.C. § 1332. Specifically, Plaintiff's complaint fails
to properly allege the state of citizenship of either the plaintiff or the individual defendants,

which is a requirement under 28 U.S.C. §1332.

Federal courts are granted “original jurisdiction of all civil actions where the matter in
controversy exceeded the sum or values of $75,000, . . . and is between — [c]itizens of
different States...“ 28 U.S.C. § 1332. This requires "[a]llegations of citizenship ... to
meet the jurisdictional requirement." Guerrino v. Ohio Cas. Ins. Co., 423 F.2d 419, 421

(3d Cir. 1970). "In federal law, citizenship means domicile, not residence." Am.'s Best
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Inns, Inc. v. Best Inns of Abilene, L.P., 980 F.2d 1072, 1074 (7th Cir. 1992) (citing Gilbert

 

v. David, 235 U.S. 561, (1915)).

This Court, in Francesco v. Atanasio, held that where "plaintiff's pleadings allege only the
residency of the parties, they are insufficient to establish diversity jurisdiction in this
Court"; "an allegation . . . as to where a party resides, is licensed, or has a place of business
- as opposed to is a citizen or is domiciled - will not properly invoke the Court's
jurisdiction." 2009 U.S. Dist. LEXIS 96042, at *6-7 (internal quotation marks & citation
omitted; citing cases). See also, e.g., Guerrino, 423 F.2d at 421 (allegations describing
parties as "residents, not as ‘citizens inadequate; "[a]llegations of citizenship are required

to meet the jurisdictional requirement").

Here, Plaintiff's complaint fails to allege either her own citizenship or that of any individual
defendant. Plaintiff alleges that she is a "resident" of the State of New Jersey (Compl. P
4), that defendant Michelle Demetriou is a "resident" of the State of New Jersey (Compl.
P 13). Plaintiff fails entirely to allege the citizenship of defendants the Bozzuto Group,
Thomas S. Bozzuto, Toby Bozzuto, and David Curcio. Such allegations of "residence" do
not meet plaintiffs pleading requirements. See Francesco, 2009 U.S. Dist. LEXIS

96042, at *6-7.

Since plaintiff's Complaint thus lacks allegations to establish the citizenship of herself and
the Defendants, the Court should dismiss the Complaint under Rule 12(b)(1) for lack of

subject matter jurisdiction.

3. The diversity of citizenship requirement of 28 U.S.C. § 1332 is not met as not all

plaintiffs are diverse from all defendants. Diversity among the all parties does not exist.
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The plaintiff is a citizen of the State of New Jersey and multiple Defendants are citizens of

the State of New Jersey. (See Certification of David Curcio, Paragraph 4), attached.

Federal courts lack diversity jurisdiction unless there is "complete diversity among the
parties." Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 418 (Gd Cir. 2010).
"Complete diversity" requires that, in cases like this one, "with multiple plaintiffs or
multiple defendants, no plaintiff be a citizen of the same state as any defendant." Id. at
419: see also Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996) (noting that, since 1806, the
Supreme Court has interpreted the diversity statute "to require complete diversity of
citizenship"; it "thus applies only to cases in which the citizenship of each plaintiff is

diverse from the citizenship of each defendant").

An individual’s citizenship for jurisdictional purposes is the state in which an individual is

domiciled. Am.’s Best Inns, Inc., 980 F.2d at 1074. An individual’s domicile is where the

 

individual’s principal residence is located coupled with the intention to remain residing

there. Texas v. Florida, 306 U.S. 398, 424 (1939).

In this case, the plaintiff is domiciled in the State of New Jersey, and is therefore a citizen

of the State of New Jersey. See Texas, 306 U.S. at 424; Am.’s Best Inns, Inc., 980 F.2d at

 

1074. Defendants Thomas S. Bozzuto and Toby Bozzuto are domiciled in Maryland, but
David Curcio, and Michelle Demetriou are domiciled in, and citizens of New Jersey. See

Texas, 306 U.S. at 424; Am.’s Best Inns, Inc., 980 F.2d at 1074. As both the plaintiff and

 

two defendants are citizens of the State of New Jersey, the complete diversity requirement

of 28 U.S.C. § 1332 is not met. See Zambelli Fireworks Mfg. Co., 592 F.3d at 419.

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Since plaintiff's Complaint does not demonstrate complete diversity of citizenship between
herself and all defendants, the Court should dismiss the complaint under Rule 12(b)(1) for

lack of subject matter jurisdiction.

4, As to Supplemental Jurisdiction: The Court does not have supplemental jurisdiction
over remaining state law claims as there is no subject matter jurisdiction, pursuant to 28

U.S.C. § 1331 or 28 U.S.C. § 1332.

In any civil action over which a District Courts has original jurisdiction, the Court shall have
supplemental jurisdiction over “all other claims that are so related to claims in the action within
such original jurisdiction that they form part of the same case or controversy under Article II of
the United States Constitution.” 28 U.S.C. § 1367(a). This allows courts the ability to resolve an
entire cause of action, so long as some portion of the claim raised a federal question. Siler v.

Louisville & Nashville R.R., 213 U.S. 175, 193 (1909).

In the instant case, the District Court does not have original jurisdiction over the plaintiff's case.
As discussed, supra, the plaintiff has not pled a federal question, nor is there the existence of
complete diversity between the parties to exercise diversity jurisdiction. As these are the only two
ways for this Court to have original jurisdiction over this plaintiff's case, and neither is satisfied,

this Court does not have supplemental jurisdiction over plaintiffs additional state law claims. See

28 U.S.C. § 1367(a).

Plaintiff does allege that her “Constitutional Rights” were infringed upon (Compl. 57), but does
not allege any facts to show that the Defendants did in fact violate the plaintiffs constitutional
rights in addition to the state law claims. It is not enough to utter the word "Constitution" in order

to get into federal court, only to then present a claim that rests solely on state law. Avila v. Pappas,

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591 F.3d at 552 (7th Cir. 2010). The federal claim must have some substance; it must be more
than a pretext to evade litigating state-law disputes in state court. Id. Should the plaintiff wish to
litigate her state law claims, she should have to do so in New Jersey state court, where she and two

of the Defendants reside.

C. SERVICE OF PROCESS IS DEFECTIVE:

Service of an individual under F. Rule Civ. Pro. 5(b)(2) is made by (a) handing it to the person,
(b) by leaving it at the person’s office with a clerk or other person in charge, or if no one is in
charge, in a conspicuous place in the office, or if the person has no office or the office is closed,
at the person’s dwelling or usual place of abode with someone of suitable age and discretion who
resides there; or by (c) mailing it to the person’s last-known address; or (d) leaving it with the court
clerk if the person has no knowns address, or (e) leaving it with the Court Clerk if the person has

no known address or by delivering it by any other means that the person consented to in writing.

What occurred here was that:

e With respect to Michelle Demetriou, service was left at her office with a sales and
marketing person, who is not in charge of the office. Michele Demetriou was in charge of
the office. The summons and complaint should have been delivered to her.

e As to Thomas Bozzuto, the summons read, “Mr. Thomas”. There was no reference to any
company or entity that should receive the delivery. It was Federal Expressed to the Bozzuto
offices in Maryland in one package with the Summons for David Curcio and a summons
for “Partners of the Bozzuto Operating Officer. While “mailing” is permitted, mailing is

only permitted to the person’s address.

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e As to Toby Bozzuto, the summons was Federal Expressed to Bozzuto offices but without
any reference to a Bozzuto company. The package was sent to Maryland in one package
with the Summons for David Curcio and a summons for “Partners of the Bozzuto Operating
Officer. While “mailing” is permitted, mailing is only permitted to the person’s address.

e As to David Curcio, his office is the offices of Bozzuto Management Company, 400
Madison Avenue, Suite 12C, New York, NY 10017.

e Service was made by Federal Express to “Partners of the Bozzuto Operating Officer” by
Federal Express at 6406 Ivy Lane, #700, Greenbelt, Maryland 20770. one of the
Defendants are “Partners of the Bozzuto Operating Officer”. The Summons is defective

and the service was effective. (See Certification of David L. Dockery, Esq. Exhibit B )

D. BOZZUTO GROUP IS NOT A PROPER DEFENDANT:

The Bozzuto Group does not appear in the caption to Plaintiff's lawsuit as a Defendant.
Nevertheless, the Complaint contains several references to the Bozzuto Group. Recognizing that
Plaintiff is a Pro Se litigant, it may be that she failed, in error, to include Bozzuto Group in the

caption of the Complaint.

Had Plaintiff included Bozzuto Group properly as a Defendant, Plaintiff would undoubtedly find
out too late that Bozzuto Group is only a colloquial term used to refer to a group of Bozzuto

Companies. It is not a parent company and it has no separate legal status. It has no assets.

None of this makes Plaintiff's complaints and allegations any less frivolous, and in our view
irretrievably so. But if the Court disagrees, then Plaintiff should be given the opportunity to amend

the Complaint so that the caption reflects a proper party, and so that the proper party can be named:

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and served so as to properly defend itself. If, on the other hand the Court agrees that the Complaint
is irretrievably frivolous and fails to state a claim, then we would ask that the Court’s order make

that plain, so that a new complaint with the same frivolous causes of action does not arrive again

at everyone’s door.

E. IN THE ALTERNATIVE, SHOULD THE COURT FIND THAT THE MATTER IS
NOT FRIVOLOUS, MALICIOUS OR HARASSING, THAT THE COMPLAINT
STATES A CAUSE OF ACTION, THAT SERVICE WAS PROPER, AND THAT

JURISDICTION EXISTS, THE DEFENDANTS ASK THAT THE TIME TO
ANSWER BE EXTENDED FOR FOURTEEN DAYS FOLLOWING THE ENTRY
OF AN ORDER ON THIS MOTION.

Much confusion has been caused by this Complaint, and its service. The Corporate Headquarters
for the Bozzuto Companies is in Maryland. There is no “corporate headquarters” in New Jersey.
Of course each property managed by the Bozzuto Group has an office, but that does not mean that
those service workers and staff are authorized to receive process. They are not. Because of the way
service was made, and because Michelle Demetriou, the person in charge of the Office at the
building in which Plaintiff resided left our employ within days of Plaintiff's service of her
Complaint, the Complaint did not reach our Corporate Headquarters for some time. A review of
the Complaint revealed the frivolous and harassing nature of the allegations, and it was thought
best to address that issue along with the lack of jurisdiction and proper service prior to filing an
Answer to the substance of the Complaint. For this reason, the named Defendants ask that should
the Court decide that there is jurisdiction, and that there was proper service, and that the Complaint

is not frivolous and states a cause of action, the time to Answer the Complaint be extended until

14 days after the Order determining this Motion is filed.

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CONCLUSION
For the foregoing reasons, these Defendants respectfully ask that the Court to dismiss the
Complaint as to the following Defendants, in its entirety:
e The Bozzuto Group.
e Thomas S. Bozzuto
e Toby Bozzuto
e David Curcio

e Michelle Demetriou
5. RECORD ON MOTION:

This Motion is based on the Pleadings and the papers on file in this action.

David Ll. Dockery. ESq. /S/

David L. Dockery, Esq.
GRIFFIN ALEXANDER, P.C.
(973) 366-1188

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